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           I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                  T H E W E ST E R N D I ST R I C T O F T E X AS
                          SA N A N T O N I O D IV I SI O N

K A T I W A L L and MI C H A E L                  NO. 5:18-CV-00951-XR
J O H N S O N , both Individually and                (consolidated with
as Personal Representatives of the                   5:18-cv-00555-XR)
Estate of D E N N I S J O H N SO N
and the Estate of SA R A
J O H N S O N ; D E N NI S N E I L
JOHNSON, JR;
CHRISTOPHER JOHNSON;
D E A N N A ST A T O N ; and
JAMES GRAHAM,

Plaintiffs

vs.

UNITED STATES OF
AMERICA,

Defendant



                            FINAL JUDGMENT

      Judgment is entered in accordance with the Findings of Fact & Conclu-

sions of Law, in cause No. 5:18-cv-00555-XR (February 7, 2022) (ECF No.

584), by District Judge Xavier Rodriguez, and Plaintiffs shall recover from

the United States in the amount of:

         1. $300,000.00 for Deanna Staton;

         2. $300,000.00 for Michael Johnson;

         3. $300,434.03 for Kati Wall;

         4. $300,000.00 for Christopher Johnson;
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         5. $150,000.00 for James Graham;

         6. $150,000.00 for Dennis Johnson Jr.;

         7. $6,000,000.00 for Kati Wall and Michael Johnson, as Per-
            sonal Representatives of The Estate of Dennis Johnson Sr.;
            and

         8. $6,000,000.00 for Kati Wall and Michael Johnson, as Per-
            sonal Representatives of The Estate of Sara Johnson.

      Plaintiffs shall file their bill of costs with this Court within 10 days of en-

try of this judgment, which are to be taxed against the United States.

      Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding

the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent.1

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.

      SIGNED this 5th day of April, 2022.




                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE


1   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

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